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14                                 UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16

17   KHAN M. HASAN, on behalf of himself and            Case No. 19-cv-07149
     all others similarly situated,
18                                                      CLASS ACTION
                               Plaintiff,
19                                                      CLASS ACTION COMPLAINT FOR
           v.                                           VIOLATIONS OF FEDERAL
20                                                      SECURITIES LAWS
     TWITTER, INC., JACK DORSEY, and NED
21   SEGAL,                                             JURY TRIAL DEMANDED
22                             Defendants.
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 1          Plaintiff Khan M. Hasan (“Plaintiff”), by his attorneys, on behalf of himself and all others

 2   similarly situated, alleges the following based upon the investigation of Plaintiff’s counsel, except

 3   as to allegations specifically pertaining to Plaintiff, which are based on personal knowledge. The

 4   investigation of counsel included, among other things, a review of Twitter, Inc. (“Twitter” or the

 5   “Company”) public filings with the United States Securities and Exchange Commission (“SEC”),

 6   press releases issued by the Company, media, news and analyst reports about the Company,

 7   conference calls with Company executives and investors, and other publicly available data,

 8   including, but not limited to, publicly available trading data relating to the price and trading
 9   volume of Twitter common stock.
10   I.     INTRODUCTION
11          1.      This action is a securities fraud action brought under Sections 10(b) and 20(a) of the
12   Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder by
13   the SEC brought by Plaintiff on behalf of all persons and entities who purchased the publicly
14   traded common stock of Twitter from August 6, 2019 through October 23, 2019, inclusive (the
15   “Class Period”).
16          2.      Twitter describes itself as a global platform for public self-expression and

17   conversation in real time. Twitter is available in more than 40 languages around the world. The

18   service can be accessed via twitter.com, an array of mobile devices via Twitter owned and operated

19   mobile applications (e.g., Twitter for iPhone and Twitter for Android), and SMS (text messaging).

20          3.      Twitter generates the substantial majority of its revenue from advertising. Twitter

21   enables its advertisers to target an audience based on a variety of factors, including a user’s

22   interests—called an “interest graph”. The interest graph maps, among other things, interests based

23   on users followed and actions taken on our platform, such as Tweets created and engagement with

24   Tweets. In addition, when someone joins Twitter, it asks users for their permission to use their

25   device settings and data—additional information which helps Twitter and its advertisers to target

26   consumers.

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 1          4.      On August 6, 2019, Twitter publicly disclosed through a tweet that it recently found

 2   issues where certain user settings choices designed to target advertising were not working as

 3   intended. Twitter represented that “We recently discovered and fixed issues related to your

 4   settings choices for the way we deliver personalized ads, and when we share certain data with

 5   trusted measurement and advertising partners.” (Emphasis added.)

 6          5.      However, unknown to investors, while Twitter represented that it “fixed” certain

 7   issues relating to user choice settings, Defendants (defined below) failed to disclose that the

 8   changes implemented to fix these issues adversely affected Twitter’s ability to target advertising,
 9   including the targeting of advertising through its Mobile App Promotion (“MAP”) product, which

10   caused a material decline in advertising revenue.

11          6.      On October 24, 2019, before the market opened, the Company disclosed its

12   financial results for the quarter ended September 30, 2019 and conducted a conference call with

13   investors. Twitter’s revenue of $823.7 million was over 5% lower than analysts’ estimate of

14   $874.0 million. Weaker-than-expected advertising revenues caused this revenue shortfall.

15          7.      During the conference call, Defendant Jack Dorsey (“Dorsey”), Twitter’s Chief

16   Executive Officer, disclosed that software defects caused by the changes implemented before the

17   beginning of the Class Period had negatively affected the Company’s third quarter financial results

18   and that the negative effects on advertising revenue would continue through at least the fourth

19   quarter of 2019:

20          [U]nfortunately, we had some missteps and bugs in our map ads . . . In aggregate,
            issues relating to our revenue products reduced year-over-year growth by 3 or more
21          points in Q3. We discovered and took steps to remediate bugs that largely affected
            our legacy map product. These bugs affected our ability to target ads and share data
22
            with measurement and partners. We also discovered that certain personalization and
23          data sightings were not operating as expected. These issues were in our control and
            we will work to do better. . . . Looking ahead, while retaking steps to remediate the
24          product issues we’ve described, we expect them to continue to weigh on the
            overall performance of our ads business in the near term. Specifically, we
25          expect a moderated performance in MAP and issues discussed in our
            personalization and data settings will likely result in 4 or more points of reduced
26
            year-over-year growth for total revenue in Q4, from 3 or more points of impact in
27          Q3, reflecting a full quarter impact in Q4 versus only a partial quarter impact in Q3.
            This is incorporated into our guidance.
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 1   (Emphasis added.)

 2          8.        On this news, Twitter’s shares declined from a closing price of $38.83 per share on

 3   October 23, 2019, to close at $30.73 per share, a decline of $8.10 per share, or over 20%, on

 4   heavier than average trading volume (over 105 million shares traded).

 5          9.        Also on October 24, 2019, the Wall Street Journal published an article titled

 6   “Twitter Shares Plunge as Ad-Business Troubles Weigh on Growth.” The article stated, in part,

 7   the following:

 8          Technical glitches in Twitter Inc.’s advertising software roiled the social-media
            company in the third quarter, as a pullback in spending from some buyers and
 9          weaker pricing for ads cut into revenue and profit even though it added millions of
            new users. . .
10

11          The company said malfunctions in ad-targeting software as well as weaker-than-
            expected spending in July and August hurt its performance. The software problems
12          meant that Twitter couldn’t serve ads to users with the same level of precision as it
            normally does, prompting some advertisers to pause or reduce spending. For
13          example, a burger restaurant’s ads might have been delivered to a wide swath of
            users, including vegetarians and people who live long distances away, making them
14
            less effective than if they were sent to meat lovers who live near the restaurant, said
15          Wedbush analyst Michael Pachter.

16          Revenue rose 9% from a year ago to $824 million, marking the smallest annual
            increase since late 2017 and below the $873.9 million that analysts polled by
17          FactSet were expecting. Advertising revenue accounted for 85% of the company’s
18          total. Twitter said it expects the negative impact on ad sales to persist in the current
            quarter. . .
19
            The snafus with Twitter’s ad business came as a surprise to most analysts, said
20          Cascend analyst Eric Ross. “No one was talking about this,” he said. “The results
            were much worse from a revenue-per-user standpoint than we were expecting. This
21          is shocking given the growth in daily active users.”
22
            The company said it anticipates the issues that plagued the ad business in the July
23          through September period to continue in the current quarter.

24          10.       On October 25, 2019, Wedbush issued a research report titled “Baby Bird Falls
25   from Nest, Goes Splat” that stated, in part, the following:
26          Twitter’s missteps in the quarter are unforgiveable. The company discovered
            “bugs” in its ad delivery technology that interfered with its ability to effectively
27          target users. By effective targeting, ROI for advertisers is enhanced, as ads are
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 1           delivered to a receptive audience; in contrast, ads that are ineffectively targeted are
             often delivered to consumers who simply don’t care and who are not receptive to the
 2           ad delivered. Twitter discovered that its “personalization and data settings” were
             buggy, and its ad pricing (“CPM”) declined during the quarter as the mix of high
 3
             priced video ads declined. We label these missteps as “unforgiveable” because
 4           Twitter has been in business for more than a decade and has been delivering ads for
             the last nine years. It is reasonable for investors to expect that the company’s ad
 5           delivery technology will perform flawlessly; Twitter’s Q3 revenue shortfall is
             evidence that its technology did not work properly.
 6
             We accept the company’s assurance that it has “fixed” the “bugs”, but we think
 7
             there is some risk that it has lost the confidence of at least a portion of its
 8           advertisers. At the same time, we are skeptical that management is appropriately
             focused on driving new users to sign up, seeming (to us) complacent about driving
 9           its existing user base to sign onto Twitter more frequently. . .
10           We are lowering our estimates to reflect lower than expected guidance and to reflect
11           future growth rates that are similar to past rates . . . we are reducing our price target
             to $34.50 from $42. . . .
12

13           11.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

14   in the market value of the Company’s common stock, Plaintiff and other Class members have

15   suffered significant losses and damages.

16   II.     JURISDICTION AND VENUE

17           12.    The claims asserted arise under Sections 10(b) and 20(a) of the Exchange Act and

18   Rule 10b-5 promulgated thereunder. Jurisdiction is conferred by Section 27 of the Exchange Act.

19   Venue is proper in this district throughout the Class Period and Defendants made materially false

20   and misleading representations to investors that were disseminated to investors in this District.

21           13.    In connection with the facts and omissions alleged in this complaint, Defendants,

22   directly or indirectly, used the means and instrumentalities of interstate commerce, including, but

23   not limited to, the mails, interstate telephone communications, and the facilities of the national

24   securities markets.

25   III.    PARTIES

26           14.    Plaintiff purchased Twitter common stock as detailed in the certification attached

27   hereto and was damaged thereby.

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 1          15.        Defendant Twitter is incorporated in Delaware and its principal executive offices

 2   are at 1355 Market Street, Suite 900, San Francisco, CA 94103. Twitter’s common stock trades on

 3   the NYSE under the symbol “TWTR.”

 4          16.        Defendant Dorsey was the Chief Executive Officer of Twitter at all relevant times.

 5          17.        Defendant Ned Segal (“Segal”) was the Chief Financial Officer of Twitter at all

 6   relevant times.

 7          18.        Defendants Twitter, Dorsey and Segal are collectively referred to as “Defendants”.

 8          19.        Defendants Dorsey and Segal are also referred to herein as the “Individual
 9   Defendants.” The Individual Defendants, because of their positions with the Company, possessed
10   the power and authority to control the contents of Twitter’s press releases, tweets, SEC filings and
11   presentations to securities analysts, money and portfolio managers and institutional investors, i.e.,
12   the market. The Individual Defendants were provided with copies of the Company’s press releases
13   and statements alleged herein to be misleading prior to or shortly after their issuance and had the
14   ability and opportunity to prevent their issuance or cause them to be corrected. Because of their
15   positions and access to material non-public information available to them but not to the public, the
16   Individual Defendants knew, or ignored with deliberate reckless, that the adverse facts specified
17   herein had not been disclosed to and were being concealed from the public and that the positive
18   representations which were being made were then materially false and misleading.
19   IV.    CLASS ACTION ALLEGATIONS
20          20.        Plaintiff brings this action as a class action pursuant to Federal Rules of Civil
21   Procedure 23(a) and 23(b)(3) on behalf of a class of all persons and entities who purchased the
22   publicly traded common stock of Twitter during the Class Period.
23          21.        The members of the Class are so numerous that joinder of all members is
24   impracticable. While the exact number of Class members is unknown to Plaintiff at the present
25   time and can only be ascertained through appropriate discovery, Plaintiff believes that there are
26   hundreds of members of the Class located throughout the United States. As of July 27, 2019,
27   Twitter reported over 773 million shares of common stock outstanding.
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 1          22.     Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff and

 2   all members of the Class have sustained damages because of Defendants’ unlawful activities

 3   alleged herein. Plaintiff has retained counsel competent and experienced in class and securities

 4   litigation and intends to pursue this action vigorously. The interests of the Class will be fairly and

 5   adequately protected by Plaintiff. Plaintiff has no interests which are contrary to or in conflict with

 6   those of the Class that Plaintiff seeks to represent.

 7   V.     FALSE AND MISLEADING STATEMENTS

 8          23.     On August 6, 2019, Defendants caused Twitter to issue a statement through a tweet
 9   that stated “We recently discovered and fixed issues related to your settings choices for the way
10   we deliver personalized ads, and when we share certain data with trusted measurement and
11   advertising partners.” (Emphasis added.) The tweet linked to a statement on Twitter’s help center
12   that further explained, as follows:
13          At Twitter, we want to give you control over your data, including when we share
            that data. Of course, those options are only good if we follow the choices you
14          make, and we recently found issues where your settings choices may not have
            worked as intended. This may have resulted in two things:
15

16          If you clicked or viewed an advertisement for a mobile application and subsequently
            interacted with the mobile application since May 2018, we may have shared certain
17          data (e.g., country code, if you engaged with the ad and when, information about the
            ad, etc) with trusted measurement and advertising partners, even if you didn’t give
18          us permission to do so.
19
            As part of a process we use to try and serve more relevant advertising on Twitter
20          and other services since September 2018, we may have shown you ads based
            on inferences we made about the devices you use, even if you did not give us
21          permission to do so. The data involved stayed within Twitter and did not contain
            things like passwords, email accounts, etc.
22

23          We fixed these issues on August 5, 2019. We know you will want to know if you
            were personally affected, and how many people in total were involved. We are still
24          conducting our investigation to determine who may have been impacted and If we
            discover more information that is useful we will share it. . . .
25

26          24.     Defendants’ representation that “[w]e recently discovered and fixed issues related to

27   your settings choices” and “[w]e fixed these issues on August 5, 2019” were materially false and

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 1   misleading and failed to disclose material adverse facts because Defendants failed to disclose that

 2   the “fix” Defendants caused Twitter to implement negatively affected Twitter’s advertising

 3   revenue.

 4          25.     On September 4, 2019, Defendant Segal attended the Citi Global Technology

 5   Conference in New York City, at which he made the following representations in response to an

 6   analyst’s questions:

 7          Kevin Toomey, Citi - Analyst

 8          And just -- you mentioned advertising earlier. In terms of advertising spend, what
            are you doing to make Twitter more attractive to marketers and increase their
 9
            spending on the platform?
10
            Ned D. Segal, Twitter, Inc. – CFO
11
            The first thing is to drive clarity around the best use cases for Twitter . . . we
12          continue to work hard to deliver better ROI [return on investment] for them, that can
13          be through better relevance. . . .

14          26.     Defendant Segal’s representations were materially false and misleading and failed to

15   disclose material adverse facts because Defendant Segal failed to disclose that the as a result of the

16   “fix” Defendants caused Twitter to implement, Twitter’s advertising became less “relevant” to

17   Twitter advertisers and users, which was adversely affecting Twitter’s advertising revenue.

18          27.     Furthermore, Defendant Segal made the following representations concerning

19   Twitter’s advertising revenue growth in response to an analyst’s question:

20          Kevin Toomey, Citi - Analyst
            Okay. Just shifting back to advertising for a second. US advertising revenue grew
21          29% year-over-year in the second quarter. What were the primary drivers of that
            strength and what’s resonating well with US advertisers?
22

23          Ned D. Segal, Twitter, Inc. - CFO
            Well, the topics -- when we talk about launching new products and services, and we
24          talk about connecting with what’s happening, it’s really resonating with the largest
            advertisers all over the world, and the U.S. did come back to growth and later than
25          the rest of the world did. Remember our business recovery began in the first half of
            2017 outside of the United States. Then it came to United States in the second half
26          of last year.
27          And so the growth that you saw in the first half of this year was just the results of
            continuing that dialogue around launching new products and services, connecting
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 1          with what’s happening, better relevance and great formats. When you are about $3
            billion of a $200 billion advertising market, $100 billion or more of which is online,
 2          there is a lot of market share to ask for and it’s our job to go out and deliver great
            outcomes for advertisers in the U.S. and all over the world so that we can earn the
 3
            right to ask for more.
 4
            28.     Defendant Segal’s representations were materially false and misleading and failed to
 5
     disclose material adverse facts because Defendant Segal failed to disclose that the as a result of the
 6
     “fix” Defendants caused Twitter to implement, Twitter’s advertising became less “relevant” to
 7
     Twitter advertisers and users, which was adversely affecting Twitter’s advertising revenue.
 8
            29.     Moreover, in response to an analyst’s question, Defendant Segal discussed the next
 9
     generation of Twitter’s MAP product, while failing to disclose the material software defects then
10
     negatively affecting Twitter’s MAP product and the negative affects those defects were having on
11
     Twitter’s advertising revenue:
12
            Kevin Toomey, Citi – Analyst
13
            You mentioned the mobile app product earlier. Why is it taking so long to roll it out
14          and address the DR [direct response] community? Where are you now in that
            initiative?
15

16          Ned D. Segal, Twitter, Inc. – CFO

17          So our MAP work is ongoing. When you want to rebuild a product from the bottom
            up, and you want to make sure you get it right where you make it so that somebody
18          can launch a campaign quickly, so that you’re not giving them so many choices that
            it’s a confusing experience, when you want to improve the relevance so that they
19
            can drive more downloads with fewer impressions. You want to make sure you get
20          it right. You want to allow people to test it. When the tests come back you want to
            learn from them and apply the learning, sometimes going back and iterating further
21          on some of the improvements that you’ve done. And it’s just a process that takes
            time as you do it. We’ve continued to sell the existing MAP product but people
22          know that new one is coming, and we haven’t really talked about a timeline around
            it.
23

24          30.     Defendant Segal’s representations were materially false and misleading and failed to
25   disclose material adverse facts because Defendant Segal failed to disclose that the “fix” Defendants
26   caused Twitter to implement to Twitter’s “existing MAP product” was then adversely affecting
27   Twitter’s advertising revenue.
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 1   VI.     THE TRUTH BEGINS TO EMERGE

 2           31.    On October 24, 2019, before the market opened, Twitter disclosed its financial

 3   results for the quarter ended September 30, 2019 and conducted a conference call with investors.

 4   Twitter’s revenue of $823.7 million lagged analysts’ estimate of $874.0 million.

 5           32.    During the conference call, Defendant Dorsey, disclosed that Twitter “had some

 6   missteps and bugs in our map ads . . . We discovered and took steps to remediate bugs that largely

 7   affected our legacy map product. These bugs affected our ability to target ads and share data with

 8   measurement and partners. We also discovered that certain personalization and data sightings were
 9   not operating as expected.”
10           33.    Defendant Segal disclosed the following in response to an analyst question:
11           Douglas Till Anmuth JP Morgan Chase & Co, Research Division – MD
12           I have two. First, just Ned, on MAP. Could just help us understand a little bit kind
             of when you learned of the issues around MAP around targeting and then sharing
13
             data? And then the degree to which they been fixed at this point and how that kind
14           of informs the 4 points of impact that you’re talking about for 4Q? . . . .

15           Ned D. Segal Twitter, Inc. - CFO
16           Okay. Thanks, Doug. I’ll take both. Jack can add anything afterwards [i]f it
             make[s] sense. First of all, our other product-related issues, so this came up over the
17
             course of the quarter and it was 1 particular day, there were more than one of these
18           things. Let me give you a couple of examples, which can help them come to life.

19           The first is, we asked people a series of questions when we put them -- me before
             we put you into a timeline when you’re new to Twitter. Among the questions we
20           asked are, if we can use your device settings to figure out best ads to show you. It
21           turns out there that setting wasn’t working as expected and we were using
             device settings even if people had asked us not to do so.
22
             So when we discovered that, the one we tweeted about, which we often do to try
23           to be transparent with people when things aren't working as expected. And
             two, we turned off the setting so that it would work as expected. That has a
24           negative impact [on] the revenue because it’s one less input that you’ve got
25           when you are figuring out which ads to show people.

26           So instead of getting a partial quarter impact, you get a full quarter impact in Q4.

27           A second example is specific to MAP where we typically will share data with
             measurement partners who will then share it with advertisers so they can see the
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 1          effectiveness of their campaigns not just on Twitter but across platforms. And
            another one of the questions that we asked people before we put them into a
 2          timeline is if we can share their data with measurement partners? That setting also
            was not working as expected and we were passing on data, which we had not
 3
            intended to.
 4
            So we stopped doing that and although we’re working on remediation, there
 5          isn’t remediation yet in place and so the effects of that will continue into Q4.
            As you can imagine, the remediation would be sharing aggregated data as opposed
 6          to personalized data when people have asked us not to share their data.
 7
            So those are 2 good examples. Hopefully help the issues come to life a little bit,
 8          that this wasn’t one thing, there were things that we found out over the course of the
            quarter and that when you get a full quarter’s impact even if you’re working to
 9          remediate, there can be negative impact to revenue. . . .
10   (Emphasis added.)

11          34.     On this news, Twitter’s shares declined from a closing price of $38.83 per share on

12   October 23, 2019, to close at $30.73 per share, a decline of $8.10 per share, or over 20%, on

13   heavier than average trading volume.

14   VII.   ADDITIONAL SCIENTER ALLEGATIONS

15          35.     As alleged herein, Defendants acted with scienter in that Defendants knew that the

16   public documents and statements issued or disseminated in the name of the Company were

17   materially false and misleading, knew that such statements or documents would be issued or

18   disseminated to the investing public; and knowingly and substantially participated or acquiesced in

19   the issuance or dissemination of such statements or documents as primary violations of the federal

20   securities laws. As set forth elsewhere herein in detail, defendants, by virtue of their receipt of

21   information reflecting the true facts regarding Twitter, their control over, and/or receipt and/or

22   modification of Twitter’s allegedly materially misleading misstatements and/or their associations

23   with the Company which made them privy to confidential proprietary information concerning

24   Twitter, participated in the fraudulent scheme alleged herein.

25          36.     Defendants knew, or at least deliberately recklessly disregarded, the falsity and

26   misleading nature of the information which they caused to be disseminated to the investing public.

27   The ongoing fraudulent scheme described in this complaint could not have been perpetrated over a

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 1   substantial period of time, as has occurred, without the knowledge and complicity of the personnel

 2   at the highest level of the Company, including the Individual Defendants.

 3          37.     Defendants had the motive and opportunity to perpetrate the fraudulent scheme and

 4   course of business described herein because the Individual Defendants were the most senior

 5   officers of Twitter, issued statements and press releases on behalf of Twitter and had the

 6   opportunity to commit the fraud alleged herein.

 7          38.     During the Class Period, Defendant Segal sold 22,000 shares of Twitter common

 8   stock at prices per share between $40.37 and $43.88 for proceeds of approximately $917,900.
 9   VIII. LOSS CAUSATION/ECONOMIC LOSS
10          39.     During the Class Period, as detailed herein, Defendants engaged in a scheme to
11   deceive the market and a course of conduct that artificially inflated Twitter’s common share price
12   and operated as a fraud or deceit on Class Period purchasers of Twitter common stock by
13   misrepresenting the Company’s operating condition and future business prospects. Defendants
14   achieved this by making positive statements about Twitter’s business while they knew, or
15   disregarded with deliberate recklessness, the adverse facts alleged above.
16          40.     Later, however, when Defendants’ prior misrepresentations were disclosed and
17   became apparent to the market, the price of Twitter’s common stock fell precipitously as the prior
18   artificial inflation came out of Twitter’s share price.
19          41.     As a result of their purchases of Twitter common stock during the Class Period,
20   Plaintiff and other members of the Class suffered economic loss, i.e., damages under the federal
21   securities laws.
22          42.     As a direct result of the public revelations regarding the truth about the condition of
23   Twitter’s business and the negative adverse factors that had been impacting Twitter’s advertising
24   revenue during the Class Period, the price of Twitter’s common stock materially declined. This
25   drop removed the inflation from Twitter’s share price, causing real economic loss to investors who
26   purchased Twitter common stock during the Class Period.
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 1           43.    The decline in Twitter’s share price at the end of the Class Period was a direct result

 2   of the nature and extent of Defendants’ fraud finally being revealed to investors and the market.

 3   The timing and magnitude of Twitter’s share price declines negate any inference that the loss

 4   suffered by Plaintiff and other Class members was caused by changed market conditions,

 5   macroeconomic or industry factors, or Company-specific facts unrelated to the Defendants’

 6   fraudulent conduct.

 7   IX.     FRAUD-ON-THE-MARKET DOCTRINE

 8           44.    At all relevant times, the market for Twitter’s common stock was an efficient
 9   market for the following reasons, among others:
10                  (a)     The Company’s common stock met the requirements for public listing and
11   were listed and actively traded on the NYSE, a highly efficient market;
12                  (b)     As a regulated issuer, the Company filed periodic public reports with the
13   SEC; and
14                  (c)     The Company regularly issued press releases and tweets which were carried
15   by national news wires, including Reuters. Each of these releases was publicly available and
16   entered the public marketplace.
17           45.    As a result, the market for the Company’s publicly traded common stock promptly
18   digested current information with respect to Twitter from all publicly available sources and
19   reflected such information in the price of the Company’s common stock.                  Under these
20   circumstances, all purchasers of the Company’s publicly traded common stock during the Class
21   Period suffered similar injury through their purchase of the publicly traded common stock of
22   Twitter at artificially inflated prices and a presumption of reliance applies.
23   X.      NO SAFE HARBOR
24           46.    The statutory safe harbor provided for forward-looking statements under certain
25   circumstances does not apply to any of the allegedly false statements pleaded in this complaint.
26   The specific statements pleaded herein were not identified as “forward-looking statements” when
27   made.
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 1           47.     To the extent there were any forward-looking statements, there were no meaningful

 2   cautionary statements identifying important factors that could cause actual results to differ

 3   materially from those in the purportedly forward-looking statements.

 4           48.     Alternatively, to the extent that the statutory safe harbor does apply to any forward-

 5   looking statements pleaded herein, Defendants are liable for those false forward-looking statements

 6   because at the time each of those forward-looking statements was made, the particular speaker

 7   knew that the particular forward-looking statement was false, and/or the forward-looking statement

 8   was authorized and/or approved by an executive officer of Twitter who knew that those statements
 9   were false when made.
10   XI.     RELIEF REQUESTED
11                                      FIRST CLAIM FOR RELIEF
                                For Violation of Section 10(b) of the 1934 Act
12                                 and Rule 10b-5 Against All Defendants

13           49.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

14   set forth herein.

15           50.     During the Class Period, Defendants disseminated or approved the false statements

16   specified above, which they knew, or deliberately recklessly disregarded, were materially false and

17   misleading in that they contained material misrepresentations and failed to disclose material facts

18   necessary in order to make the statements made, in light of the circumstances under which they

19   were made, not misleading.

20           51.     Defendants violated Section 10(b) of the 1934 Act and Rule 10b-5 in that they:

21                   (a)    Employed devices, schemes and artifices to defraud;

22                   (b)    Made untrue statements of material facts or omitted to state material facts

23   necessary in order to make statements made, in light of the circumstances under which they were

24   made not misleading; or

25                   (c)    Engaged in acts, practices, and a course of business that operated as a fraud

26   or deceit upon Plaintiff and others similarly situated in connection with their purchases of Twitter’s

27   publicly traded common stock during the Class Period.

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 1           52.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

 2   the market, they paid artificially inflated prices for Twitter’s publicly traded common stock.

 3   Plaintiff and the Class would not have purchased Twitter’s common stock at the prices they paid,

 4   or at all, if they had been aware that the market prices had been artificially and falsely inflated by

 5   Defendants’ misleading statements.

 6           53.     As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

 7   and the other members of the Class suffered damages in connection with their purchases of

 8   Twitter’s common stock during the Class Period.
 9                                    SECOND CLAIM FOR RELIEF
                                For Violation of Section 20(a) of the 1934 Act
10                                   Against the Individual Defendants

11           54.     Plaintiff repeats and re-alleges each and every allegation contained above as if full

12   set forth herein.

13           55.     The Individual Defendants each acted as a controlling person of Twitter within the

14   meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

15   positions, and ownership and contractual rights, participation in and/or awareness of the

16   Company’s operations and/or intimate knowledge of the statements filed by the Company with the

17   SEC and disseminated to the investing public, the Individual Defendants had the power to

18   influence and control and did influence and control, directly or indirectly, the decision-making of

19   the Company, including the content and dissemination of the various statements or tweets that

20   Plaintiff contends are false and misleading. The Individual Defendants were provided with or had

21   unlimited access to copies of the Company’s reports, press releases, public filings, tweets and other

22   statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were

23   issued and had the ability to prevent the issuance of the statements or cause the statements to be

24   corrected.

25           56.     In particular, the Individual Defendants had direct and supervisory involvement in

26   the day-to-day operations of the Company and, therefore, are presumed to have had the power to

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 1   control or influence the particular transactions giving rise to the securities violations as alleged

 2   herein, and exercised the same.

 3          57.     As set forth above, Twitter and the Individual Defendants each violated Section

 4   10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

 5   positions each as a controlling person, the Individual Defendants are liable pursuant to Section

 6   20(a) of the Exchange Act. As a direct and proximate result of Twitter’s and the Individual

 7   Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered damages in

 8   connection with their purchases of the Company’s common stock during the Class Period.
 9   XII.   PRAYER FOR RELIEF
10          WHEREFORE, Plaintiff prays for judgment as follows:
11          A.      Declaring this action to be a proper class action;
12          B.      Awarding damages, including interest; awarding reasonable costs, including
13   attorneys’ fees; and
14          C.      Such equitable/injunctive relief as the Court may deem proper.
15   XIII. JURY DEMAND
16          Plaintiff demands a trial by jury.
17   Dated: October 29, 2019                KAPLAN FOX & KILSHEIMER LLP
18
                                            By: __/s/ Laurence D. King_______________________
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